UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                  :
                                                                        : Chapter 7
BOAZ BAGBAG,                                                            :
                                                                        : Case No. 08-12667 (MKV)
                                             Debtor.                    :
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               ORDER GRANTING DEBTOR’S MOTION TO REOPEN CASE


          Upon the amended motion, dated April 16, 2018, of the above-captioned debtor (the

“Debtor”) to reopen the instant case (the “Motion”) [ECF No. 149]; and upon consideration of

the opposition of Asher Alcobi to the Motion (the “Opposition”) [ECF No. 153] and the Debtor’s

response to the Opposition [ECF No. 156]; and it appearing that proper and adequate notice of

the Motion has been given and that no other or further notice is necessary; and for the reasons

stated on the record at the hearing on the Motion held on May 31, 2018; and after due

deliberation thereon; and good and sufficient cause appearing therefore, it is hereby

          ORDERED, that this case is reopened pursuant to section 350(b) of the Bankruptcy

Code, Rule 5010 of the Federal Rules of Bankruptcy Procedure, and Rule 5010-1 of the Local

Bankruptcy Rules for the Bankruptcy Court for the Southern District of New York; and it is

further

          ORDERED, that to the extent the Debtor seeks any further relief from this Court, the

Debtor shall move for such relief by no later than July 6, 2018.


Dated: New York, New York
       June 6, 2018                               s/ Mary Kay Vyskocil
                                                Honorable Mary Kay Vyskocil
                                                United States Bankruptcy Judge
